              Case 2:20-mc-00018-DLR Document 7 Filed 04/21/20 Page 1 of 2



 1   Brian M. Bergin (#021776)
     Bergin, Frakes, Smalley & Oberholtzer, PLLC
 2
     4343 E. Camelback Road, Suite 210
 3   Phoenix, Arizona 85018
     Telephone: (602) 888-7855
 4   Facsimile: (602) 888-7856
 5   Email: bbergin@bfsolaw.com
 6   Michael Jason Lee, Esq. (State Bar No. 206110)
 7   LAW OFFICES OF MICHAEL JASON LEE, APLC
     4660 La Jolla Village Drive, Suite 100
 8   San Diego, California 92122
 9   Telephone: (858) 550-9984
     Facsimile: (858) 550-9985
10   Email: michael@mjllaw.com
11   Pro Hac Vice Application Pending

12   Christopher J. Beal, Esq. (State Bar No. 216579)
13   DILLON MILLER & AHUJA, LLP
     5872 Owens Avenue, Suite 200
14   Carlsbad, California 92008
15   Telephone: (858) 587-1800
     Facsimile: (858) 587-2587
16   Email: cbeal@dmalaw.com
17   Attorneys for Applicant, iFinex Inc.
     Pro Hac Vice Application Pending
18
19                            UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF ARIZONA
20
     In re Application of                               Case No.: MC-20-00018-PHX-DLR
21
22   iFinex Inc.                                        (Assigned to Hon. Douglas M. Rayes)
23
            Applicant,                                  APPLICANT IFINEX INC.’S
24                                                      CORPORATE DISCLOSURE
     For the Issuance of a Subpoena for the             STATEMENT
25
     Taking of a Deposition and the Production
26   of Documents for use in a Foreign
     Proceeding Pursuant to 28 U.S.C. § 1782
27
28


                                                   1
                 Case 2:20-mc-00018-DLR Document 7 Filed 04/21/20 Page 2 of 2



 1             Pursuant to Rule 7.1 of the Federal Rules of Civil Procedure and Local Rule 7.1.1 of the
 2   United States District Court for the District of Arizona, Applicant, iFinex Inc., (“Applicant”)
 3   hereby states that it is a non-governmental entity whose parent corporation is Digfinex Inc. No
 4   publicly traded corporation owns ten percent (10%) or more of Applicant’s stock. Applicant
 5   will file a supplemental disclosure statement upon any change in the information provided
 6   herein.
 7
               DATED this 21st day of April, 2020.
 8
     Law Offices of Michael Jason Lee, APLC                Bergin Frakes Smalley & Oberholtzer,
 9
10
     /s/ Michael Jason Lee (with permission)               /s/ Brian M. Bergin
11   Michael Jason Lee, Esq.                               Brian M. Bergin
12   4660 La Jolla Village Drive, Suite 100                4343 E. Camelback Road #210
     San Diego, California 92122                           Phoenix, Arizona 85018
13   Attorney for Applicant, iFinex Inc.                   Attorney for Applicant, iFinex Inc.
14   Pro Hac Vice Application Pending
15   Dillon Miller & Ahuja, LLP
16
17   /s/ Christopher J. Beal, Esq. (with permission)
18   Christopher J. Beal, Esq
     5872 Owens Avenue, Suite 200
19   Carlsbad, California 92008
20   Attorney for Applicant, iFinex Inc.
     Pro Hac Vice Application Pending
21
22
                                        CERTIFICATE OF SERVICE
23
24             On this 21st day of April, 2020, the foregoing was filed with the Arizona District Court

25   Clerk’s Office using the CM/ECF System for filing, which will provide a Notice of Electronic

26   Filing to all CM/ECF registrants.
27
28   By: /s/ Kristine L. Berry


                                                       2
